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                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION



WELLS FARGO BANK, N.A.                                                                              PLAINTIFF

V.                                                           CIVIL ACTION NO. 3:11cv226-DPJ-FKB

WEST JACKSON STUDENT HOUSING, LLC                                                                 DEFENDANT

                                      ORDER APPOINTING RECEIVER

       This matter has come before the Court on the Motion for Appointment of Receiver (the

"Motion")1 filed by plaintiff Wells Fargo Bank, N.A., a national banking association, successor

by merger to Wachovia Bank, National Association, successor by merger to First Union National

Bank, a national banking association ("Plaintiff"). The Court, having considered the Motion, the

Complaint, affidavits and other evidence filed therewith, the arguments made by counsel and the

evidence offered at the hearing on the Motion, finds that the appointment of a receiver is

appropriate and the Motion is due to be granted as set forth herein;


       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Motion is

GRANTED and that:


        A.      The Court finds that the appointment of a receiver for the assets of Defendant
West Jackson Student Housing, LLC ("Borrower") is proper and for good cause shown. The
receiver's specific duties are set forth below. However, the receiver's most important duty is to
protect, preserve, and potentially enhance the value of the Complex.

        B.      Campus Advantage, Inc. (the "Receiver") is hereby appointed receiver of all of
Borrower's assets, including the student housing complex and the land upon which the same sits
(the "Complex," together with all books and records related to the Complex, accounts receivable
reports, customer agreements and reports, rents, revenues and proceeds of the Complex, surety
bonds, letters of credit, security deposits, tax deposits, performance deposits, escrow deposits,
keys, books, records, bank accounts, checkbooks, ledgers, accounts payable and accounts
receivable records, leases, reports, rent rolls, insurance policies and certificates, executory
contracts, plans, specifications, drawings, surveys, technical manuals for all systems, together
with operating procedures, passwords, security codes, warranties relating to the Complex,
       1

        Unless otherwise defined, all capitalized terms herein shall have the meaning ascribed to them in the Motion.
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records required to be kept under applicable safety and environmental laws, licenses, permits,
proffers, entitlements, trademarks, service marks, trade names, intellectual property rights,
claims, causes of action, choses in action (other than the Excluded Litigation as defined in
paragraph D(xii) below) and in general all other instruments, documents, rights, properties or
assets of any kind or character whatsoever (whether tangible or intangible and whether real,
personal or mixed) forming a part of or related to the ownership, development, use, operation
and management of the Complex, are hereinafter defined as the "Property");

             C.   Receiver is not an attorney for or related to any party to this action.

       D.       Receiver is authorized, subject to control of this Court and the laws regarding
receivership, to do any and all acts necessary for the proper and lawful conduct of the
receivership. Specifically, the following orders are entered:

                  (i)     Appointment of Campus Advantage, Inc. as Receiver. Campus
                          Advantage, Inc. is hereby appointed as Receiver for the Property, as
                          defined above, possessing the authority and subject to the requirements
                          stated in this Order;

                  (ii)    Receiver's Exclusive and Complete Control over the Property.
                          Receiver is authorized to take and have complete and exclusive control
                          and possession of the Property, as defined above, together with any and all
                          bank accounts, credit card receipts, demand deposits, reimbursement
                          rights, bank deposits, security deposits and all other forms of accounts,
                          accounts receivable, payment rights, cash and cash equivalents, along with
                          any and all information necessary to operate the Property, including but
                          not limited to all security codes, combinations, passwords and other access
                          codes and all other collateral securing the indebtedness owed to Plaintiff;

                  (iii)   Items to be Delivered to Receiver by Borrower. Borrower and all
                          persons acting under its direction are ordered to deliver unrestricted
                          physical custody, control, and possession to Receiver, without any right of
                          offset or recoupment, of the Property and all other collateral securing the
                          indebtedness owed to Plaintiff, including but not limited to: (1) cash
                          collateral (whether consisting of cash on hand, cash in any and all bank
                          accounts or other accounts, all rights to security deposits, including, but
                          not limited to, amounts that Borrower may have deposited with utility
                          companies, all rights to unearned insurance premiums or claim proceeds,
                          or pre-payments of any kind, and all other cash and cash equivalents); (2)
                          all keys; (3) all loans and communications and correspondence files
                          relating thereto; (4) security deposits, rent, prepaid rent, other sums
                          relating to the use, enjoyment, possession, improvement or occupancy of
                          all or any part of the Property and any accounts of any of the foregoing;
                          (5) a current list of the occupants of the Property, including the complete
                          tenant ledgers with respect to each occupant; (6) complete tenant files and
                          tenant histories; (7) any and all accounts receivable and accounts payable
                          reports; (8) any and all contracts in effect with respect to the Property and


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                      all communications and correspondence pertinent thereto, including, but
                      not limited to, all service contracts and warranty information and contracts
                      with vendors who provide or have provided services at the Property;
                      (9) any and all files relating to contracts, bids or other materials relating to
                      any contractor work at the Property; (10) any and all payroll records,
                      employee files, applications and other materials relevant to those persons
                      employed at the Property; (11) any and all insurance policies covering the
                      Property, and all communications and correspondence pertinent thereto;
                      (12) any and all bank statements and records relating to any accounts
                      associated with the Property; (13) any and all records relating to pending
                      or current litigation (except for privileged records relating to the Excluded
                      Litigation); and (14) any and all other records pertaining to the operation
                      and management of the Property reasonably requested by Receiver during
                      the course of the receivership;

               (iv)   Information to be Delivered to Receiver by Borrower. Within ten (10)
                      days following the entry of this Order, Borrower shall deliver to Receiver
                      (1) a list of all creditors of Borrower, including to the extent known the
                      names, addresses, telephone numbers and e-mail addresses of such
                      creditors, and the amounts due to each such creditor, and (2) a list and
                      description of all claims and causes of action that Borrower have against
                      any person in connection with the Property (other than claims and causes
                      of action related to the Excluded Litigation), including to the extent
                      known the names, addresses, telephone numbers and e-mail addresses of
                      such persons, and the amounts due or alleged to be due from each such
                      person. Borrower shall supplement such lists promptly to the extent
                      information becomes known regarding additional claims or debts of
                      Borrower;

               (v)    Borrower's Actions. Borrower and any persons acting under Borrower's
                      direction or in concert with Borrower will promptly deliver the Property to
                      Receiver, and neither Borrower nor any persons acting under Borrower's
                      direction or in concert with Borrower will (1) in any way disturb the
                      possession of the Property or other property that is the subject of this
                      Order; (2) dispose of, dissipate, mishandle or misappropriate any of the
                      Property or other such property; (3) take any actions that would, directly
                      or indirectly, have an adverse impact on the value of the Property;
                      (4) cancel, reduce or modify any and all insurance coverage in existence
                      with respect to the Property; and (5) collect any rents or other sums due to
                      Borrower, all until further order of the Court;

               (vi)   Receiver's Right to Prevent Waste of, and to Preserve and/or
                      Enhance, the Property. Subject to other provisions of this Order,
                      effective immediately, Receiver is directed to take any and all actions
                      Receiver deems commercially reasonable and appropriate to prevent waste
                      to the Property, to preserve, secure, manage, maintain, and safeguard the
                      Property and all other forms of property to which Receiver is entitled to


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                       take possession and control under this Order, and may, where appropriate
                       in the exercise of its business judgment, take actions to enhance the value
                       of the Property, subject to the approval of Plaintiff. Receiver shall take
                       reasonable actions to ensure that it complies with all laws applicable to the
                       possession, use, occupancy, management, operation and maintenance of
                       the Property as provided under any laws of the United States, the State of
                       Mississippi, and otherwise. Receiver shall provide Borrower with five (5)
                       days notice of any actions it proposes to take to materially enhance the
                       value of the Property;

               (vii)   Receiver Vested with the Information Related to the Property.
                       Receiver is vested with the books and records of Borrower with respect to
                       operation of the Property and other property subject hereto, including any
                       and all information related to: (1) rent rolls and leases affecting the
                       Property, including, but not limited to, leases for current and former
                       tenants and a detailed accounting of all security deposits for current and
                       former tenants; (2) amounts paid by lessees and other obligors of
                       Borrower; (3) amounts owed by lessees and other obligors of Borrower;
                       (4) liens, encumbrances and other interests against or affecting the
                       Property; (5) property taxes owed by Borrower and previously paid by
                       Borrower; (6) all types of insurance affecting the Property, including but
                       not limited to, any and all information regarding any pending or settled
                       insurance claims; (7) plans, specifications, surveys and drawings of the
                       Property, including, but not limited to, building and individual floor plans,
                       elevator and/or escalator plans and mechanical system plans; (8) any and
                       all maintenance logs and repair records for all systems in place at the
                       Property; (9) access codes to any of the Property; (10) all operating,
                       income, financial and monthly statements of Borrower and any
                       management company retained by Borrower, including but not limited to,
                       any and all general ledgers, balance sheets, check registers, budgets and
                       monthly billings; (11) all current account numbers for all utility
                       companies; (12) any and all current marketing materials and information,
                       including, but not limited to, any prospect reports; (13) all information
                       covering any pending or possible litigation (except for privileged
                       information covering the Excluded Litigation); and (14) all other aspects
                       of the Property. Receiver shall continue to obtain an accounting of all
                       funds and accounts that are located at the Bond Trustee in accordance with
                       the Bond Indenture, and copies of such accounting shall be provided to
                       Plaintiff and Borrower;

               (viii) Budget. On or before the fifteenth (15th) business day after entry of this
                      Order by this Court, and on or before the same day of every year
                      thereafter until the receivership created by this Order is terminated,
                      Receiver shall furnish to Plaintiff and Borrower a detailed, projected,
                      monthly operating budget for the fiscal year for Receiver and the Property
                      (as may be amended from time to time, the "Budget"), which shall be
                      subject to the written approval of Plaintiff. Plaintiff shall advise Receiver


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                      in writing within ten (10) business days of receipt of the Budget, or any
                      amendment thereof, whether Plaintiff approves or disapproves the Budget,
                      or any amendment thereof. Receiver, Plaintiff, and Borrower may petition
                      the Court for a hearing to resolve any dispute concerning the Budget;

               (ix)   Receiver's Right to Manage, Maintain, and Operate the Property.
                      Subject to the other provisions of this Order and the approved Budget,
                      Receiver is authorized to (1) manage, operate, and lease the Property, (2)
                      employ and pay such contractors, property managers, brokers,
                      accountants, attorneys and other persons and professionals as Receiver
                      may in his sound business judgment deem necessary or appropriate in the
                      management, conduct, control, or custody of the affairs of Borrower and
                      the Property; (3) make payments and disbursements in the ordinary course
                      of business and to make such payments and disbursements as may be
                      necessary and proper for the preservation, maintenance, security and
                      enhancement of the Property. Receiver shall perform under any contract
                      or lease entered into prior to the date it assumes possession of the property
                      which shall include the right to terminate said contract or lease in
                      accordance with the terms of said agreements. Receiver is further
                      authorized and instructed to pay net income from the Property to Plaintiff,
                      in reduction of the indebtedness owed to Plaintiff by Borrower. Prior to
                      taking any action previously authorized in this subparagraph, Receiver
                      shall obtain any such approvals and/or consents that Borrower would be
                      required to obtain under the Wells Fargo Documents and notify Borrower
                      prior to taking any such action. Subject to the prior written consent of the
                      Court and Plaintiff, Receiver is authorized to execute subdivision and
                      platting amendments, easements, and restrictive covenants regarding the
                      Property;

               (x)    Receiver Authorized to Market and Sell the Property. Subject to the
                      other provisions of this Order, the approved Budget, and the prior written
                      consent of Plaintiff, Receiver is authorized to market the Property for sale
                      and share information with prospective purchasers. Nothing in this Order
                      shall prevent Borrower from assisting Receiver in its efforts to market the
                      Property, including efforts to identify prospective purchasers for the
                      Property. Subject to the prior written consent of the Court and Plaintiff,
                      Receiver is authorized to sell all or a portion of the Property and other
                      collateral, and execute on Borrower's behalf any necessary documents in
                      connection with such sale. All liens, claims, interests, and encumbrances
                      on any Property sold shall attach to any and all proceeds of such sale. If
                      Plaintiff is the purchaser of any Property at any sale of such Property, the
                      purchase price shall be credited with the total amount due and owing by
                      Borrower to Plaintiff under the Wells Fargo Documents, or such amount
                      as is necessary to pay the purchase price in full, on the date of such sale.
                      Receiver shall keep Borrower reasonably apprised of its efforts to market
                      the Property, and Receiver must notify Borrower in writing as and when



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                       Receiver seeks permission of the Court to sell all or a portion of the
                       Property;

               (xi)    Receiver's Right to Collect Amounts Due. Receiver is authorized to
                       receive and collect any and all sums due or owing to Borrower in any
                       manner related to the Property, whether the same are now due or shall
                       hereafter become due and owing, to deposit such sums into an account
                       established and maintained by Receiver and to expend such sums on the
                       operation and management of the Property in the ordinary course of its
                       business. All tenants, bailees or other persons in possession of the
                       Property or any portion thereof are hereby directed to attorn to Receiver,
                       and until further order of this Court (1) are hereby directed to pay over to
                       Receiver or its duly designated agent all rents, revenues, proceeds or other
                       sums payable with respect to the Property which are now due and unpaid
                       or hereafter become due, and (2) are hereby enjoined and restrained from
                       paying to Borrower or its agents, officers, directors, employees, or
                       attorneys any such rents, revenues, proceeds or other sums;

               (xii)   Disputes and Legal Actions Related to the Property. Receiver is
                       authorized to negotiate and compromise in lieu of Borrower any disputes
                       related to the Property. Receiver is further authorized, at its option, to
                       institute, prosecute, defend, compromise, and/or intervene in or become
                       party to such actions or proceedings in state or federal courts in lieu of
                       Borrower, including but not limited to, the collection of rents and other
                       amounts now or hereafter becoming due, the removal of tenants or other
                       persons from the Property and/or the defense against any action brought
                       against Receiver acting in such capacity, and to intervene in and pursue
                       any existing causes of action to which Borrower is a party; provided,
                       however, that Receiver must obtain the Court's approval prior to
                       compromising any disputes, claims, or causes of action where the amount
                       in controversy exceeds $50,000.00. Notwithstanding the provisions of
                       this subparagraph, Receiver is not authorized to control, negotiate,
                       compromise, institute, prosecute, defend, intervene, or appear for
                       Borrower in (1) any claims, causes of action, or proceedings, including the
                       instant action, related to Borrower’s liability under the Wells Fargo
                       Documents, or (2) any claims, causes of action, or proceedings, including
                       the instant action, Borrower now has or shall have in the future against
                       Plaintiff and/or Campus Advantage, Inc. (collectively, the "Excluded
                       Litigation");

               (xiii) Insurance. Receiver is authorized to maintain appropriate property
                      insurance for the Property, public liability insurance, worker's
                      compensation insurance, fire and extended coverage insurance, burglary
                      and theft insurance and other types of insurance normally obtained in
                      connection with the operation and management of the Property; and is
                      authorized to continue any current policies in place and to purchase
                      further insurance as Receiver deems appropriate;


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               (xiv)   Payment of Property Taxes; Preparation and Filing of Tax Returns
                       for the Property. Receiver is authorized, but not required, to (i) pay all
                       current and past due real estate taxes, personal property taxes and any
                       other taxes and assessments against the Property, and (ii) prepare and file
                       tax returns with respect to the Property, and other property subject hereto,
                       as may be required by law, provided, however, Receiver is not responsible
                       for the preparation of tax returns for Borrower or any of its affiliates.
                       However, funds will be provided in the budget for preparation of
                       Borrower’s tax returns;

               (xv)    Receiver's Right to Borrow Money. In the event that the revenues and
                       proceeds of the Property shall at any time be insufficient to pay the
                       normal, ordinary, and necessary operating expenses of the Property,
                       including payment of Receiver's fees and expenses thereunder, Receiver is
                       hereby authorized to borrow from Plaintiff, and Plaintiff is hereby
                       authorized, but not required, to advance to Receiver, such funds and
                       expenses as may be necessary to pay such costs and expenses on ordinary
                       business terms as Plaintiff and Receiver may negotiate and agree (the
                       "Receivership Loan"). The Receivership Loan shall constitute a demand
                       obligation owing to Plaintiff, shall bear interest at the Prime Rate (as such
                       term is defined in the Reimbursement Agreement) plus two percent (2%)
                       per annum, and shall give rise to a fully perfected first priority priming
                       lien upon the Property in favor of Plaintiff, such lien to be evidenced by
                       the Deed of Trust without further action by Plaintiff. Subject to
                       subsection (xxiii) below, no personal recourse shall be had against
                       Receiver with respect to the Receivership Loan, and Plaintiff shall look
                       solely to the Property to satisfy the Receivership Loan. Contemporaneous
                       with the request of Receiver to borrower funds under this subparagraph,
                       Receiver shall notify Borrower of such request and the reasons therefore;

               (xvi)   Leases; Payment of Utilities; Maintenance of the Property;
                       Compliance with Laws. Receiver is authorized to: (1) negotiate and
                       enter into new leases, occupancy agreements, and contracts in the ordinary
                       course of the business of the Property; (2) modify existing leases,
                       occupancy agreements, and contracts in the ordinary course of the
                       business of the Property; (3) pay all utilities, expenses, and other
                       obligations secured by the Property or which may give rise to liens on the
                       Property, and all other outstanding obligations to suppliers and service
                       providers in the ordinary course of business, so long as Receiver has
                       determined that it is prudent to do so in order to maintain business
                       relationships that are beneficial to the conduct of the receivership; (4)
                       make repairs necessary to the maintenance of the Property in order to
                       preserve the Property in the ordinary course of business; and (5) comply
                       with all requirements and regulations applicable to the Property; provided,
                       however, that Receiver must obtain any such approvals and/or consents as
                       may be required by the Wells Fargo Documents;



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               (xvii) Application of Income from the Property. Receiver is permitted to
                      apply income from the Property as set forth elsewhere herein and in the
                      following order of priority: (1) Receiver's fees and expenses authorized in
                      this Order; (2) the current operating expenses of the receivership,
                      including the maintenance and operation of the Property, in the ordinary
                      course of business; (3) the obligations owed to Plaintiff under the Wells
                      Fargo Documents; and (4) hold the rest (if any there be) for payment of
                      unsecured, pre-receiver obligations;

               (xviii) Receiver's Cash on Hand. Receiver is permitted to maintain sufficient
                       cash on hand to enable Receiver to meet those expenses, the payment of
                       which is authorized herein, in an amount to be agreed to between Receiver
                       and Plaintiff;

               (xix)   Accounting. On or before the 20th day of each month, Receiver shall
                       make an accounting of all revenues collected and all fees and expenses
                       paid for the previous month and shall file said accounting with the Court
                       and shall serve upon Plaintiff's counsel and Borrower a copy of said
                       accounting. Receiver shall file a final report within forty-five (45) days
                       after the termination of the receivership;

               (xx)    Payment of Property Expenses. Subject to the provisions of this Order
                       the approved Budget, and the availability of funds in the receivership
                       estate, Receiver shall pay the normal, ordinary, and necessary operating
                       expenses of the Property, including without limitation, reasonable
                       expenses required to put the Property in a rentable and/or saleable (make-
                       ready) condition, from the rents and other revenues collected from the
                       Property. To the extent the income from the Property is not sufficient for
                       Receiver to pay the expenses of the receivership, including the
                       maintenance and operation of the Property, Receiver's financial
                       obligations under this Order are subject to funding of the Receivership
                       Loan as set forth in subsection (xv) above. All fees and expenses of
                       Receiver shall constitute a first lien and charge against the Property, with
                       priority ahead of all other liens and security interests, including without
                       limitation the liens and security interests of Plaintiff. Neither Receiver
                       nor Plaintiff shall be liable for any expenses incurred with regard to the
                       Property prior to Receiver taking possession of the Property, nor shall
                       Receiver or Plaintiff be required to use any rents or additional funds
                       advanced by Plaintiff or other revenues collected after Receiver takes
                       possession of the Property in payment of such expenses. Notwithstanding
                       the foregoing, Receiver is authorized, subject to the prior written consent
                       of Plaintiff, which consent shall not be unreasonably withheld, to pay
                       those expenses that were incurred in the normal and ordinary course of
                       business of the Property that were incurred prior to Receiver taking
                       possession of the Property, if, and only if, the payment of any such pre-
                       existing expenses is necessary and critical to the ongoing operation of the
                       Property (e.g., utilities). Receiver shall make a determination as to which


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                          expenses, if any, incurred prior to the Receiver's taking possession of the
                          Property, were incurred in the normal and ordinary course of business and
                          the payment of which is necessary and critical to the ongoing operation of
                          the Property. Otherwise, no pre-existing expenses shall be paid by
                          Receiver without written approval by Plaintiff or further order of this
                          Court;

                  (xxi)   Compliance with Laws. Receiver shall take reasonable actions to ensure
                          that it complies with all laws applicable to the possession, use, occupancy,
                          management, operation and maintenance of the Property as provided
                          under any laws of the United States, the State of Mississippi, and
                          otherwise;

                  (xxii) Receiver's Liability. Except in the event of gross negligence, willful
                         misconduct or actions in violation of orders of the Court, Receiver has no
                         personal liability for any obligations incurred in the course of the
                         receivership, any and all such liabilities being limited to the assets
                         (including the cash and cash equivalents) received and generated by
                         Receiver in the course of the receivership, subject to the existing lien of
                         Plaintiff, and Borrower will hold Receiver harmless except in connection
                         with any willful misconduct or gross negligence by Receiver; and

                  (xxiii) Receiver's Authority. The authority granted to Receiver is self-
                          executing.

             E.   Notwithstanding anything to the contrary in this Order:

                  (i)     Borrower shall have no obligation to turn over to Receiver any document
                          or information that is subject to the attorney-client privilege or the work
                          product doctrine; and

                  (ii)    Receiver may not carry on business under the name of Borrower, but must
                          in all respects reflect that it is operating as Receiver.

                  (iii)   Borrower and/or its counsel shall have the right to request that
                          the Receiver pay any legal fees and expense incurred in the
                          representation of Borrower in connection with the subject matter of this
                          suit. Both Receiver and Plaintiff shall be provided with a copy of the
                          request, including any itemization of fees (except that any time entries
                          that would reveal matters protected by the attorney-client privilege may
                          be properly redacted).

                          Receiver shall notify Borrower and its counsel within ten (10) days if
                          it intends to make such a payment and, if it does, shall make the
                          payment within twenty-one (21) days of the request. If Receiver gives
                          notice that it does not intend to pay the requested amount, then within
                          ten (10) days of receiving such notice, Borrower or its counsel may



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                       petition the Court and request that payment be ordered.

                       Plaintiff reserves all rights to contend that any such fees or expenses
                       are not reasonable or that the request is otherwise improper. Likewise,
                       Plaintiff reserves all rights to contend that any such fees or expenses
                       already paid in the past were not reasonable or were otherwise improper.

       F.      Receiver's appointment is effective immediately upon entry of this Order, and
Receiver shall be authorized, subject to control of this Court, to do any and all of the above acts
necessary to the proper and lawful conduct of the receivership.

        G.     To ensure the orderly operation of the receivership and maximize the value of the
assets, Receiver's proposed fee arrangment as set forth in the Motion is approved, and Receiver
shall be compensated as follows:

               (i)     Receiver shall be paid a set monthly fee of $2,250.00, which fee is all-
                       inclusive of Receiver's services as well as services provided by its in-
                       house supporting staff, regardless of the extent of time that is required for
                       receivership services. Receiver shall be reimbursed for all out-of-pocket
                       expenses, including travel expenses, reasonably incurred in the discharge
                       of his rights and duties as Receiver, and any reasonable attorneys' fees and
                       expenses. Such fees and expenses shall be payable monthly, with
                       contemporaneous notice of such payment being provided to Borrower,
                       without the requirement of a further order of this Court, provided,
                       however, that Receiver's fees and expenses shall be disclosed in the
                       monthly accounting described below;

               (ii)    On or before the 20th day of each month, Receiver and Receiver's retained
                       professionals shall prepare statements of services rendered and time
                       expended. Those statements shall be filed with the Court and served upon
                       Plaintiff's counsel and Borrower;

               (iii)   Unless a party files a written motion objecting to the payment of a
                       monthly invoice within ten (10) calendar days of receipt of the invoice,
                       Receiver is authorized to pay the invoice. In the event that a written
                       objection to the payment of the claim is timely made with Receiver and
                       the Court, the objection should be set for hearing by the objecting party as
                       soon as possible; and

               (iv)    Until an order is entered concerning any objection filed, Receiver shall be
                       authorized to pay only eighty percent (80%) of the fees stated in the
                       invoice at issue and shall hold back payment of twenty percent (20%) of
                       the charge for fees stated in said invoice.

        H.     Receiver will, within (30) days of qualification and appointment, file in this
action an inventory of all property of which Receiver has taken possession. If Receiver
subsequently comes into possession of additional property, Receiver will file a supplemental



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inventory as soon as practical. Receiver will file monthly reports apprising the Court of the
status of the Property and will serve the reports upon the parties in this litigation.

       I.      Receiver may, in its sole and absolute discretion, resign its office as Receiver by
providing not less than thirty (30) days' written notice to Plaintiff and Borrower, and by filing
such notice with this Court.

       J.       The Court shall review the status of the receivership one hundred twenty (120)
days from the entry of this Order, at which time the Court will determine whether the
receivership should continue or terminate. Thereafter, the Court shall review the status of the
receivership every ninety (90) days until it determines that it is appropriate to terminate the
receivership. Nothing in this Order shall prevent the Court, upon its own initiative or on motion
of any party, from terminating the receivership prior to a scheduled review.

         K.      Absent prior approval of the Court, no creditor of Borrower, or other person or
entity, shall seek, create, or perfect a lien or security interest in the Property, levy or execute on
the Property, or seek possession of, control over, or access to the Property. Notwithstanding the
foregoing, the provisions of this paragraph shall not affect the Plaintiff's interests in the Property
by virtue of the Deed of Trust, or Plaintiff's right to enforce the terms of the Wells Fargo
Documents against Borrower or the Collateral.

        L.      At any time, Plaintiff and Borrower are authorized to negotiate and execute a
deed in lieu of foreclosure transaction. Notwithstanding Plaintiff's decision to accept a deed in
lieu for the Property, Plaintiff shall also retain the right to foreclose on the Property.

        M.     The liability of Receiver and his professionals, agents, representatives,
employees, affiliates, successors, and assigns, for any and all claims, liabilities, damages, fees,
costs, expense, and charges incurred or arising from their respective acts or omissions in
connection with Borrower, this Order, the receivership established pursuant to this Order, and/or
the Property, shall exist only to the extent that this Court determines by a final and non-
appealable judgment that such acts or omissions resulted solely from such person's bad faith or
gross negligence. Except as conditioned above, any such claims, liabilities, damages, fees, costs,
expense, and charges shall not be paid or borne by Receiver, but shall be paid as an expense of
the receivership when and as incurred. This provision shall survive the termination or
resignation of Receiver, and the termination or suspension of the receivership.

       N.       Borrower shall fully cooperate with Receiver in (i) adding Receiver, any
management company retained by Receiver, and Plaintiff, if necessary, as additional insureds,
and Plaintiff as the loss payee, on any insurance relating to the operation and management of the
Property including, but not limited to, property damage, liability, fidelity, errors and omissions,
and workers compensation and (ii) modifying any such policies if deemed appropriate by
Receiver. Borrower and all persons acting under its direction are prohibited from canceling,
reducing or modifying any and all insurance coverage in existence with respect to the Property.

       O.       No existing deed of trust on any of the Property in this receivership will in any
manner be affected by this Order, and the beneficiaries and trustees of such deeds of trust may
exercise all of their statutory and contractual rights in connection therewith without seeking



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further order of this Court. Any party's failure to oppose the appointment of Receiver, any
party's consent to the appointment, or any party's procurement of the appointment will not
constitute waiver of any lien, claim, or right.

        P.      Any person or any agent of any person, with actual notice of this Order shall not
interfere with any property in the control of Receiver or subject to this Order, nor interfere with
Receiver in the carrying out of any duty under this Order.

        Q.      All third parties (including but not limited to financial institutions) in possession
of any Property subject to this Order are hereby ordered to turn over such assets to Receiver
within five (5) business days of receipt of a copy of this Order.

       R.       Any party shall be entitled to cause a copy of this Order to be recorded in the
Office of the Judge of Probate of Hinds County, Mississippi, and in all such other filing offices
within or without the State of Mississippi as Receiver and/or Plaintiff may deem necessary or
advantageous.

         S.    The Court shall retain jurisdiction and supervision of all matters concerning
Receiver, the receivership created hereby, and the Property. Any and all actions which affect
Receiver or the Property shall be brought in this Court. Receiver may seek instructions and
additional authority from this Court upon written notice to Plaintiff and Borrower. Any action
that is due under this Order on a day that is a weekend or a legal holiday shall not be due until
the next business day.

             T.    This receivership will continue in effect until further order of this Court.

        U.       The Court will monitor the receivership consistent with the terms of this Order,
but this civil action is otherwise stayed during the course of the receivership or until lifted by
further order of this Court.

        V.    The Court reserves its ruling on the posting of a bond pending review of the
parties’ memoranda on the issue.

             SO ORDERED AND ADJUDGED this the 8th day of July, 2011.

                                                          s/ Daniel P. Jordan III

                                                          UNITED STATES DISTRICT JUDGE




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